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AO 472 (Rev. 3/86) Order of Detention Pending Trial


                                                      United States District Court
                                                                           DISTRICT OF KANSAS

             UNITED STATES OF AMERICA
                       v.                                                                      ORDER OF DETENTION PENDING TRIAL

                          KEYAUN C. JAMES                                                      Case Number: 10-20129-08-KHV/DJW
                                         Defendant

     In accordance with the Bail Reform Act, 18 U.S.C. § 3142(f), a detention hearing has been held. I conclude that the following facts
require the detention of the defendant pending trial in this case.
                                                           Part I - Findings of Fact
9 (1) The defendant is charged with an offense described in 18 U.S.C. § 3142(f)(1) and has been convicted of a (federal offense) (state
      or local offense that would have been a federal offense if a circumstance giving rise to federal jurisdiction had existed) that is
      9 a crime of violence as defined in 18 U.S.C. § 3156(a)(4).
      9 an offense for which the maximum sentence is life imprisonment or death.
      9 an offense for which a maximum term of imprisonment of ten years or more is prescribed in
                    *
             9 a felony that was committed after the defendant had been convicted of two or more prior federal offenses described in 18
                    U.S.C. § 3142(f) (1)(A)-(C), or comparable state or local offenses.
9 (2) The offense described in finding (1) was committed while the defendant was on release pending trial for a federal, state or local
      offense.
9 (3) A period of not more than five years has elapsed since the (date of conviction) (release of the defendant from imprisonment) for
      the offense described in finding (1).
9 (4) Findings Nos. (1), (2) and (3) establish a rebuttable presumption that no condition or combination of conditions will reasonably
             assure the safety of (an)other person(s) and the community. I further find that the defendant has not rebutted this presumption.
                                                             Alternative Findings (A)
9 (1) There is probable cause to believe that the defendant has committed an offense
      9 for which a maximum term of imprisonment of ten years or more is prescribed in ________________________________
      9 under 18 U.S.C. § 924(c).
9 (2) The defendant has not rebutted the presumption established by finding 1 that no condition or combination of conditions will
             reasonably assure the appearance of the defendant as required and the safety of the community.
                                                           Alternative Findings (B)
: (1) There is a serious risk that the defendant will not appear.
: (2) There is a serious risk that the defendant will endanger the safety of another person or the community.



                                          Part II - Written Statement of Reasons for Detention
    I find that the credible testimony and information submitted at the hearing establishes by (clear and convincing evidence) (a
preponderance of the evidence) that
                                                             (See attached pages)


                                                   Part III - Directions Regarding Detention
      The defendant is committed to the custody of the Attorney General or his designated representative for confinement in a corrections
facility separate, to the extent practicable, from persons awaiting or serving sentences or being held in custody pending appeal. The
defendant shall be afforded a reasonable opportunity for private consultation with defense counsel. On order of a court of the United
States or on request of an attorney for the Government, the person in charge of the corrections facility shall deliver the defendant to the
United States marshal for the purpose of an appearance in connection with a court proceeding.
Dated: November 4, 2010                                                                  s/ David J. Waxse
                                                                                                             Signature of Judicial Officer

                                                                                        David J. Waxse, United States Magistrate Judge
                                                                                                             Name and Title of Judicial Officer

*Insert as applicable: (a) Controlled Substances Act (21 U.S.C. § 801 et seq.); (b) Controlled Substances Import and Export Act (21 U.S.C. § 951 et seq.); or (c) Section 1 of Act of Sept. 15,
1980 (21 U.S.C. § 955a).
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Criminal Action: 10-20129-08-KHV

                   Part II - Written Statement of Reasons for Detention
   There is a series of factors I have to look at to determine whether there are conditions of release that

will reasonably assure your appearance and protect the safety of the community.

   The first factor is the nature and circumstances of the offense charged, including whether the offense

is a crime involving a firearm: Although you have not been personally listed with the use of the firearm

at the time of your arrest, the conspiracy obviously involves firearms so that as well as the normal

controlled substance charges are negative factors.

   The next factor is the weight of the evidence. There has been a Grand Jury Indictment, so that is a

probable cause determination, which is a negative.

   The next factor is your personal characteristics, which include your physical and mental condition

and that is obviously an issue here due to your prior injuries, these injuries also have some negative

impact, cause it appears that both of them were gun shots which is not something that happens to people

normally.

   Your family ties are positive. Your employment, there is some question about the nature of the

extent of your employment, but you certainly are employed according to the reports so that a positive.

   The next factor is your financial resources. There are no indications of substantial resources that

would enable you to flee, so that is a positive.

   Your length of residence in the community is positive.

   Your community ties are positive, although some of your community ties have to do with long time

drug dealing in the community, and that’s not the kind of ties we want.

   The next factor is your past conduct, which includes history relating to drug or alcohol abuse,

criminal history, and record concerning appearances to court proceedings, as your attorney has pointed

out, is fairly moderate compared to other persons in this situation.

   The next issue is whether at the time of the current offense or arrest you were on probation or parole
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or release. It appears from the report that you were, although they were minor charges in municipal

court.

   The final factor I have to consider is the nature and seriousness and danger of any person in the

community opposed by your release, and that’s your biggest problem, because in this kind of case, when

there evidence that’s been presented to the grand jury of long time drug dealing, that is the kind of

danger that this community has to protect itself from, because all of those people who are buying crack

are probably committing other crimes to get the crack.

   So it’s my conclusion, base upon all these factors, that I cannot safely come up with conditions that

will allow you to be released and still guarantee the safety of the community. You will remain detained.
